              Case 3:20-cr-00249-RS        Document 86       Filed 05/05/22     Page 1 of 2




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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       ) NO. CR 22-00171 EMC
                                                     ) [FILED APRIL 27, 2022]
14           Plaintiff,                              )
                                                     )
15      v.                                           )
                                                     )
16   DAVID MATA,                                     )
                                                     )
17           Defendant.                              )
                                                     )
18
19   UNITED STATES OF AMERICA,                       )   NO. CR 20-00249 RS
                                                     )   [FILED JUNE 22, 2020]
20           Plaintiff,                              )
                                                     )   NOTICE OF RELATED CASE IN A CRIMINAL
21      v.                                           )   ACTION
                                                     )
22   ROWLAND MARCUS ANDRADE,                         )
                                                     )
23           Defendant.                              )
                                                     )
24

25            The United States of America, pursuant to Local Criminal Rule 8-1, hereby notifies the Court
26 that the two above-captioned criminal cases are related. Defendant Andrade was indicted in June 2020

27 on charges related to an alleged fraud scheme related to the development and promotion of a

28 cryptocurrency called AML Bitcoin. Those charges remain pending. Defendant Mata was charged via

     NOTICE OF RELATED CASES
     U.S. v. MATA, ANDRADE
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             Case 3:20-cr-00249-RS         Document 86        Filed 05/05/22      Page 2 of 2




 1 Information in April 2022 pursuant to a separate alleged fraud scheme related to the management of a

 2 cryptocurrency investment fund, Block Bits Fund. However, defendant Mata was also aware of and

 3 involved in the AML Bitcoin scheme with defendant Andrade. Thus, the cases against defendants

 4 Andrade and Mata involve similar and overlapping sets of facts. The government anticipates that

 5 Defendant Mata is a potential witness in any trial against Andrade. Accordingly, the government

 6 believes that the case against defendant Mata should be related and heard by the same judge who is

 7 overseeing the case against defendant Andrade, U.S. District Court Judge Richard Seeborg. Based upon

 8 these facts, the cases are related within the meaning of Local Rule 8-1(b)(1) because they involve the

 9 same events and occurrences, in addition to overlapping parties. Furthermore, the cases are related
10 within the meaning of Local Rule 8-1(b)(2) because, if heard by separate judges, the actions likely

11 would involve substantial duplication of labor by the two judges.

12          Per the requirement of Local Criminal Rule 8-1(c)(4), government counsel states that assignment

13 of these cases to a single judge is likely to conserve judicial resources and promote an efficient

14 determination of each action.

15

16 DATED: May 5, 2022                                            Respectfully submitted,

17                                                               STEPHANIE M. HINDS
                                                                 United States Attorney
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19                                                                                     /s/

20                                                               ANDREW DAWSON
                                                                 Assistant United States Attorneys
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     U.S. v. MATA, ANDRADE
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